Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 1 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 2 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 3 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 4 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 5 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 6 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 7 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 8 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 9 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 10 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 11 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 12 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 13 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 14 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 15 of
                                           16
Case 18-11101 Doc 484 Filed 02/25/21 Entered 02/25/21 11:27:00 Main Document Page 16 of
                                           16
